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Might be in Boston to meet with Harvard and Tufts President’s Frida<Message part 2 of 2
missing>

Message is missing part(s).




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      Case 1:19-cr-10080-LTS Document 2719-20 Filed 08/15/23 Page 3 of 3




<Message part 1 of 2 missing>y, September 21. Might be able to meet at 11am ish

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